               Case 1:19-cv-00994-JB-JHR Document 168 Filed 07/25/22 Page 1 of 2


Lauren Rotonda

From:                               Matthew M. Beck < mbeck@peiferlaw.com>
Sent:                               Monday, luly 25,20221:05 PM
To:                                 Lauren Rotonda
Cc:                                 Rattan Dev S. Dhaliwal; Mark Baker; Cecilia Nufrez; Debra L. Johnson; Kubra Hussain
Subject:                            Martinez v. Sunrise and Singh - No. CIV 19-994 JB - Arrest Warrant
Attachments:                        Singh Warrant - ao442.pdf; Known Family-Friends-Associates.pdf



CAUTION - EXTERNAL:


Ms. Rotonda-

Attached is the arrest warrant for Judge Browning's signature. We understand from the hearing last week that the US
Marshals Service requires this arrest warrant to accompany the Court's order to arrest and detain Mr. Singh.

Please let us know if you or the Judge have any questions or concerns.

-Matt

Motthew M. Beck
Peifer, Hanson, Mullins & Baker, P.A.
20 First Plaza, Suite 725
Albuquerque, New Mexico 87LO2
Phone: (505) 247-4800
Direct: (505)338-8876
Cell: (505)263-0334
Email : m beck@ peiferlaw.com


DISCLAIMER:
This e-mail is confidential and intended forthe addressee only. lf you have received it in error, you are on
notice of its status. Please notify us immediately by reply e-mail and then delete this message from your
system. Please do not copy it or use it for any purpose, or disclose its contents to any other person. Any views
or opinions expressed in this e-mail may be solely those of the author and are not necessarily those of Peifer,
Hanson, Mullins & Baker, P.A.



CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




                                                           8fu"       on


                                                           "\\r.Hp
                                                                     n[rr    \tr
                       Case 1:19-cv-00994-JB-JHR Document 168 Filed 07/25/22 Page 2 of 2



AO ,i42   (Rev         Arrest Wanant




                                           UNTTSO STETBS DTSTruCT COURT
                                                                   for the

                                                             District of New Mexico


                      Kristina Martinez, et al.
                                   v.                                 )
                                                                               CaseNo. CIY      1,9-994 JB/JHR
                        Dart Trans, lnc., et al.                      )
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                               Defendant


                                                            ARREST WARRANT

            Any authorized law enforcement officer

            you                                                          States magistrate judge without unnecessary delay
                  ARE C'MMANDED to arrest and bring before a United
 (name of person to be arrested) srkhd", Sinnh, also known as Sukhdev singh
                                                                              Dhaliwal, also known as sukhdev Dhaliwal sind '
                                                                            filed with the court:
 who is accused of an offense or violation based on the following document
                                                                                                                                         tr    Complaint
 O   Indictment               0supersedinglndictmentolnformationosupersedinglnformation
                                                                                                                                         C O.d.t of the Court
 E   Probation violation         Petition E Supervised Release violation Petition             ilviolation Notice

 This offense is briefly described as follows:




  City and stale:




                                                                             , and the person was arrested on
                                                                                                              (date)
                 This warrant was received on      (date1




                                                                                                Arr   es   I   ing offi c e r's   s i gnatur   e


                                                                                                                                                                z'1
                                                                                                                                                                 ?
